
217 P.3d 691 (2009)
230 Or. App. 748
In the Matter of S.O.C., Alleged to be a Mentally Ill Person.
STATE of Oregon, Respondent,
v.
S.O.C., Appellant.
060666031, A132892.
Court of Appeals of Oregon.
Submitted on August 7, 2009.
Decided September 9, 2009.
Liza J. Langford filed the brief for appellant.
Hardy Myers, Attorney General, Mary H. Williams, Solicitor General, and Stacie F. Beckerman, Assistant Attorney General, filed the brief for respondent.
Before HASELTON, Presiding Judge, and ARMSTRONG, Judge, and ROSENBLUM, Judge.
PER CURIAM.
Appellant in this mental commitment case appeals a judgment committing him to the Mental Health Division for a period of time not to exceed 180 days. ORS 426.130. The trial court found that appellant suffers from a mental disorder and is unable to provide for his basic personal needs and is a danger to himself. A discussion of the facts would be of no benefit to the bench, the bar, or the public. The state concedes that the record does not contain clear and convincing evidence to support the judgment of involuntary commitment. On de novo review,[1] we agree that the evidence is insufficient to establish that, because of appellant's mental disorder, he is unable to provide for his basic personal needs or is a danger to himself. Accordingly, we accept the state's concession.
Reversed.
NOTES
[1]  ORS 19.415, which governs our standard of review, was recently amended by Senate Bill 262 (2009). Or. Laws 2009, ch. 231, §§ 2-3. The amendments apply to appeals in which the notice of appeal was filed on or after June 4, 2009. Because the notice of appeal in this case was filed before that date, the amendments do not apply.

